CASE 0:24-cv-04452-JRT-JFD Doc. 15

Filed 04/21/25

Page 1 of 1

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Flight Standard District Office (FSDO-(Local office of FAA-Federal Aviation Administration)

AFFIDAVIT OF SERVICE APR 2 1 2025
CLERK, U. U.S. DISTRICT COURT
+ —— Stts: MIN
Case: Court: County: Job: NNESCTA
jrp _ | US District Court,
0:24-CV-04452-JRT-BSL | District of Minnesota | Hennepin 01
Plaintiff/ Petitioner: Defendant/ Respondent:
Darko Pavlovski Frontier Airlines Inc.
Received by: For:
Rafael Vega Darko Pavlovski
To be served upon:

I, Rafael Vega,being duly sworn, deposes and says: I am over 18 years and not a party to this action, and that within
the boundaries of the state where service was effected, I was authorized by law to make service of the document and
inform said person of the contents herein.

> _ ‘ WY
Recipient Name/Address: [A¥/ah Jocepl [. Lin 40m Flight Standard District Office FSDO (local office
of FAA-Federal Aviation Administration), 6020 28th Ave S, Minneapolis, MN, 55450

Manner of service:
Documents:

Additional comments:

FAA’s Local Office, April 18th, 2025, at_/ 2; | 2 pm CDT
First Amended Complaint,
Addition to my Statement of Facts, Counts & Prayers

Plaintiff's Memorandum in law, Re Amendmending the Co

Plaintiff’s Memorandum of law

Affidavit of Plaintiff

Affidavit of Jennifer Naimo

laint SCANNED

APR 22 2025
LU.S, DISTRICT COURT MP

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First successful attempt: April 18th, 2025 at / 7 _( Upm FSDO, FAA’s Local office: 6020 28th Ave S, Minneapolis,
MN, 55450 Received by _Brigh Joseph Bet mont

Went to the addres; , of F$DO (Local FAA’s Office), and upon arrival I personally handed the above documents to

Brean so sep

Hie (25

fae Vega

DASHAUN D JOHNSON JR
Notary Public

Minnesota
My Commission Expires 01/31/2029

Date

Bel hkekh _ from FSDO, FAA’s Local office 6020 28th Ave S, Minneapolis, MN, 55450

Subscribed and sworn to before me by the affiant who is personally known to me

—_—__-_-

—_—— )

a“

ot lias

ol/ 31] Zovt

Date

My commission expires
